Case 3:21-cv-03970-TAD-KDM Document 35 Filed 12/01/21 Page 1 of 2 PageID #: 684




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION


 STATE OF LOUISIANA ET AL                                       CASE NO. 3:21-CV-03970

 VERSUS                                                         JUDGE TERRY A. DOUGHTY

 XAVIER BECERRA ET AL                                           MAG. JUDGE KAYLA D. MCCLUSKY

                                         MEMORANDUM ORDER

         Pending before the Court is a Motion for a Stay Pending Appeal [Doc. No. 32] filed by

 Government Defendants1 in this matter regarding the Preliminary Injunction issued in this

 proceeding on November 30, 2021 [Doc. No. 29] in favor of Plaintiff States2.

         Courts must consider four factors in assessing the propriety of granting a motion for stay

 pending appeal. Those are (1) the likelihood of prevailing on the merits of the appeal; (2) whether

 the movant will suffer irreparable damage absent a stay; (3) the harm that other parties will suffer

 if a stay is granted; and (4) the public interest. Planned Parenthood of Greater Tex. Surgical Health

 Servs. v. Abbott, 734 F.3d 406, 410 (5th Cir. 2013).

         Considering the four factors, this Court, for the reason more fully set out in the

 Memorandum Ruling [Doc. No. 28], believes that the likelihood of Government Defendants’

 success on the merits is low.

         This Court further finds Government Defendants will not suffer irreparable harm if a stay

 is not entered.




 1
   The Government Defendants consist of Xavier Becerra, in his official capacity as Secretary of Health and Human
 Services, The U.S. Department of Health and Human Services (“DHH”), Chiquita Brooks–Lasure, in her official
 capacity as Administrator of the Center for Medicare and Medicaid Services (“CMS”).
 2
   Plaintiff States consist of Louisiana, Montana, Arizona, Alabama, Georgia, Idaho, Indiana, Mississippi, Oklahoma,
 South Carolina, Utah, West Virginia, Kentucky, and Ohio.
Case 3:21-cv-03970-TAD-KDM Document 35 Filed 12/01/21 Page 2 of 2 PageID #: 685




        This Court further finds that other parties will be harmed if the stay is granted. As set forth

 in the Memorandum Ruling, Government Defendants’ vaccine mandate requires over 10.3 million

 employees of Medicare and Medicaid healthcare providers to obtain the first COVID-19 vaccine

 by December 6, 2021, and the second COVID-19 vaccine by January 4, 2022. If a stay is entered,

 the unvaccinated employees (an estimated 2.4 million) would be required to either receive the

 vaccine or be terminated from their employment. A stay would defeat the purpose of the

 preliminary injunction.

        This Court further finds that the public interest is in favor of Plaintiff States and against a

 stay. The public interest is better served by maintaining the liberty interests of employees who do

 not wish to take the COVID-19 vaccine, pending the final resolution of the matter.

        For the reasons set forth herein, Government Defendants’ Motion for a Stay Pending

 Appeal [Doc. No. 32] is DENIED.

        MONROE, LOUISIANA, this 1st day of December 2021.




                                                                   Terry A. Doughty
                                                              United States District Judge




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